         Case: 25-1579     Document: 3      Page: 1       Date Filed: 03/31/2025



                                         OFFICE OF THE CLERK

PATRICIA S. DODSZUWEIT         UNITED STATES COURT OF APPEALS                  TELEPHONE
                                         FOR THE THIRD CIRCUIT                215-597-2995
         CLERK                     21400 UNITED STATES COURTHOUSE
                                          601 MARKET STREET
                                      PHILADELPHIA, PA 19106-1790
                                   Website: www.ca3.uscourts.gov

                                          March 31, 2025




                                      NOTICE


       Pursuant to 3d Cir. L.A.R. 26.1, a document is timely filed if received by 5:00
p.m. ET on the last day for filing unless the Court sets a different time, the document
has been submitted by an inmate pursuant to Fed. R. App. P. 25(a)(2)(A)(iii), or
otherwise specified in L.A.R. 26.1. See Order Adopting and Amending Local
Appellate Rules or access the Court's website for information.
